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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION


SATURN OF MEMPHIS, INC.,

       Plaintiff,                                Civil Action No.

v.

UNIVERSAL UNDERWRITERS
INSURANCE COMPANY,                               JURY DEMANDED

       Defendant.


     COMPLAINT FOR DECLARATORY RELIEF AND MONEY DAMAGES


       Comes the Plaintiff, Saturn of Memphis, Inc. (“Saturn of Memphis”), and for its

complaint against the Defendant, alleges and pleads as follows:

                                        PARTIES

       1.     Saturn of Memphis, Inc. (“Saturn of Memphis”) owns and operates an

automobile dealership at 2420 Covington Pike in Memphis, Shelby County, Tennessee.

       2.     On information and belief, Universal Underwriters Insurance Company

(“Universal”) is an insurance company organized under Massachusetts law that maintains

its principal place of business in Overland Park, Kansas.

                             JURISDICTION AND VENUE

       3.     The Court has jurisdiction of the subject matter of this action pursuant to 28

U.S.C. § 1332, because there is complete diversity of citizenship between Saturn of
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Memphis and Universal, and the matter in controversy exceeds the sum of $75,000.00,

exclusive of interest and costs.

        4.       Venue is properly laid in this district pursuant to 28 U.S.C. § 1391(a),

because a substantial part of the events or omissions giving rise to the claim occurred in

this district.

                                           FACTS

        5.       In 2007, Saturn of Memphis purchased insurance policy number 263550

from Universal (hereinafter referred to as the “Policy”). The Policy covered multiple

risks and was effective from July 1, 2007 through July 1, 2008. The Policy is too

voluminous to exhibit to this Complaint but, on information and belief, Universal

possesses a copy of the Policy.

        6.       Coverage Part 380 of the Policy covered losses resulting from, among other

things, certain acts of dishonest employees, as well as certain expenses incurred in

connection with the investigation of a claim.

        7.       From approximately February 1, 2005, through October 15, 2007, Saturn of

Memphis employed Shawn L. Cunningham as Parts Manager—the employee responsible

for ordering parts and supplies used by Saturn of Memphis’s Service Department. In his

capacity as Parts Manager, Cunningham was charged with the responsibility of

monitoring the types and quantities of shop supplies and parts actually used by Saturn of

Memphis, ascertaining the best prices for non-GM parts and supplies, and ordering

replacement parts and supplies in the lowest quantities sufficient to meet Saturn of

Memphis’s needs.


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       8.     Beginning on a date unknown to Saturn of Memphis, Cunningham devised

and executed a dishonest scheme to deprive Saturn of Memphis of money and/or other

property by causing Saturn of Memphis to pay invoices for excessive quantities of parts

and supplies at inflated prices. In many cases, the “suppliers” reflected on the subject

invoices paid kickbacks to Cunningham in the form of gift cards and travelers checks

that, by Cunningham’s own admission, totaled at least $400-$500 per month. Saturn of

Memphis has located some of the products invoiced by the subject “suppliers,” but it

appears that many of the products it paid for were not received.

       9.     Examples of Cunningham’s conduct that form the subject matter of this

action are as follows:

              a.     Saturn of Memphis uses a part known in the industry as a 3-inch Ro

       Loc only twice per month (approximately twenty-four times per year). These

       parts are readily available for as low as $0.94 per unit. Cunningham caused Saturn

       of Memphis to pay for 1,700 3-inch Ro Locs (a 70-year supply) at an average

       price of $4.85 per unit (more than five times the market price). Moreover, the

       majority of the units paid for by Saturn of Memphis were never received.

              b.     On average, Saturn of Memphis uses approximately 50 wire ties per

       month, which are widely available for approximately $0.08 per unit. Cunningham

       caused Saturn of Memphis to pay for more than 30,000 wire ties (a 50-year

       supply) at an average price of $0.78 (almost ten times the market price). Almost

       25,000 of the wire ties paid for by Saturn of Memphis were not received.




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             c.        HNBR O-ring kits are readily available for $6.20 each. Cunningham

      caused Saturn of Memphis to purchase several HNBR O-ring kits for $999.96

      each (more than 160 times the market price).

             d.        Valve stems are readily available for as low as $0.16 each.

      Cunningham caused Saturn of Memphis to purchase thousands of valve stems for

      an average price of $3.98 per unit.

             e.        During Cunningham’s tenure, Saturn of Memphis did not use wire

      connectors.      Nonetheless, Cunningham caused Saturn of Memphis to pay for

      thousands of wire connectors, e.g., heat shrink connectors, quick connectors, quick

      splice terminal connectors, and spade terminal connectors, at grossly inflated

      prices. Saturn of Memphis never received the vast majority of the connectors for

      which it paid.

             f.        During Cunningham’s tenure, Saturn of Memphis did not regularly

      use cutoff blades. Yet, Cunningham caused Saturn of Memphis to pay for over

      4,000 cutoff blades at more than double the market price. Saturn of Memphis

      received only 1,380 cutoff blades, for which it has no use.

             g.        With respect to air filters, brake pads and brake rotors, Cunningham

      made some purchases at slightly less than market price, but the items received

      were of such inferior quality that they have no value to Saturn of Memphis.

      10.    Cunningham’s actions caused Saturn of Memphis to sustain a loss of at

least $379,856.32.




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         11.   The loss caused by Cunningham’s conduct as described herein is a type of

loss covered under the Policy.

         12.   During all relevant times, Saturn of Memphis was a Named Insured entitled

to indemnification under the terms of the Policy.

         13.   During all relevant times, Cunningham was an Employee as defined by and

used in the applicable provisions of the Policy.

         14.   Saturn of Memphis first discovered the loss caused by Cunningham on or

after October 15, 2007, at which time Saturn of Memphis placed Cunningham on

suspension.

         15.   Saturn of Memphis has complied with all applicable terms of the Policy

that impose any duties or obligations on it as an insured under the Policy.

         16.   Pursuant to communications with Universal, on or about February 1, 2008,

Saturn of Memphis submitted formal documentation of its claim to Universal in the form

of a detailed Proof of Loss, together with voluminous exhibits. A true and correct copy

of the aforementioned Proof of Loss (without exhibits) is attached hereto as Exhibit A

and incorporated herein by reference.

         17.   To date, Universal has never formally admitted nor denied coverage under

the Policy, nor has it paid any sums to Saturn of Memphis in connection with the subject

claim.

         18.   Universal’s refusal to pay Saturn of Memphis’ insurance claim constitutes

of breach of the insurance contract.




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         WHEREFORE, PREMISES CONSIDERED, Saturn of Memphis prays that the

Court:

         a)   empanel a jury to decide all contested issues of fact as provided in
              Fed.R.Civ.P. 38 and 39(a); and

         b)   enter judgment in favor of Saturn of Memphis declaring the respective
              rights and obligations of the parties under the Policy; and

         c)   enforce the terms of the Policy by awarding Saturn of Memphis a money
              judgment against Universal for the amount of its covered loss, plus pre-
              judgment interest and post-judgment interest; and

         d)   assess the costs of this action against Universal, including all discretionary
              costs to which Saturn of Memphis may be entitled; and

         e)   award Saturn of Memphis any other and further relief to which it may be
              entitled.
                                      Respectfully submitted,


                                          s/ Douglas A. Black
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